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   EXHIBIT A
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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA




In re: Lindell Management LLC Litigation      Case No. 23-cv-1433 (JRT/DJF)


                                               INTERROGATORIES IN AID
                                               OF EXECUTION


                   INTERROGATORIES TO JUDGMENT
                  DEBTOR LINDELL MANAGEMENT LLC

      Pursuant to Federal Rules of Civil Procedure 26, 33, and 69, Robert Zeidman

requests that Debtor Lindell Management LLC, (“Lindell”) answer the following

interrogatories, separately and fully, and under oath, within 30 days of service, in

accordance with those rules and the definitions and instructions set forth herein.

                                  DEFINITIONS

      1.     The terms “you,” “your,” and “Lindell” mean Lindell Management

LLC, its subsidiaries, divisions, predecessor and successor companies, affiliates, any

partnership or joint venture to which it may be a party, and/or each of its employees,

agents, officers, directors, representatives, consultants, accountants, and attorneys,

including any person who served in any such capacity at any time during the relevant

time period specified herein.
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      2.     “Identify” when used in reference to an individual, means that you

should state: (a) the full name of the individual; (b) the individual’s last known home

or business address; and (c) the individual’s last known phone number.

      3.     “Identify” when used in reference to an entity, means that you should

state: (a) the official name of the entity; (b) the address and telephone number of

each place of business of the entity; (c) the state of residency of the entity; (d) the

legal status of the entity; (e) the date of formation of the entity; (f) the federal tax

identification number of the entity; and (g) any other business name(s) under which

the entity operates.

      4.     “Identify” when used in reference to a document means that you should

state: (a) the author of the document; (b) the type of document and any identification

number assigned to the document; (c) the date appearing on the document and the

date the document was created if different from the date appearing on the document;

(d) the identity of each person who assisted in the preparation of the document; (e)

the identity of all recipients of the document; (f) the present location of the

document; (g) each person sharing custody or control of each copy of the document;

and (h) if the document is a form, state the form name and number and the period

during which that form was in use.

      5.     The terms “revenue” or “income” mean any and all money, earnings,

revenue, or payments of any kind that you received in any form, whether in cash or



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by check, credit or debit card, electronic transfer, or otherwise, including but not

limited to payments for goods and services, payments on accounts receivable, loan

repayments, interest income, rents, royalties, license fees, commissions, dividends,

distributions, payments concerning sales of assets, equipment, or inventory,

payments on contracts, or any other payment or remuneration you received in

connection with the operation of your business.

      6.     The term “asset” means any property or thing of value you owned,

claimed, or held any interest in, in whole or in part, including any and all real

property, tangible personal property including cash, vehicles, goods, inventory,

machinery, equipment, trade fixtures, office equipment, supplies, and computer

systems and networks, and intangible personal property including goodwill,

contracts, accounts receivable, notes receivable, stocks, bonds, and other securities,

ownership interest in any other entities such as subsidiary corporations, general or

limited partnerships, and joint ventures, intellectual property rights including

copyrights, patents, trademarks, and trade names, and insurance policies which you

own or which name you as an insured.

      7.     “And” and “or” mean “and/or” and shall be construed in the conjunctive

or disjunctive, whichever makes the given request more inclusive.

      8.     “Concerning” means about, regarding, containing, relating to,

reflecting, referencing, recording, discussing, mentioning, noting, evidencing,



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memorializing, analyzing, describing, commenting upon, referring to, having any

connection with, supporting, contradicting, or having any tendency to prove or

disprove the matters set forth in a given request.

      9.     The term “document” shall have the broadest meaning permitted by the

Superior Court Civil Rules and includes, without limitation, all originals, copies (if

the originals are not available), non-identical copies (whether different from the

original because of underlining, editing marks, notes made on or attached to such

copy or otherwise) and drafts of the following items, whether printed or recorded

(through a sound, video or other electronic, magnetic or digital recording system) or

reproduced by hand, whether or not claimed to be privileged or confidential,

including but not limited to letters, correspondence, telegrams, telexes, memoranda,

records, diaries, summaries of personal conversations or interviews, expressions or

statements of policy, lists of persons attending meetings or conferences, reports or

summaries of meetings, minutes or records or notes of meetings or conferences,

reports or summaries of investigations, opinions of counsel, reports or summaries of

either negotiations within or without the corporation or preparations for such, note

pads, postcards, “Post-It” notes, stenographic notes, notes, notebooks, opinions or

reports of financial advisors or consultants, opinions or reports of experts,

projections, financial or statistical statements or compilations, contracts,

agreements, appraisals, analyses, purchase orders, bills of sale, confirmations,



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publications, articles, books, pamphlets, circulars, microfilm, microfiche, reports,

studies, logs, surveys, reports to shareholders, instruments, circulars, press releases,

drafts of any document, accounts, diaries, calendars, appointment books, maps,

charts graphs, bulletins, photostats, speeches, brochures, manuals, data sheets,

pictures, photographs, illustrations, blueprints, films, drawings, plans, tape

recordings, videotapes, disks, diskettes, data tapes or readable computer-produced

interpretations or transcriptions thereof; electronic communications including but

not limited to email and/or text messages, voice mail messages, telegraphic

messages, faxes, interoffice communications, advertising, packaging and

promotional materials, and any other writings, papers and tangible things of

whatever description whatsoever, including but not limited to any information

contained in any computer, server, mainframe, or other storage device (including (i)

information on or in computer memory, (ii) information on or in computer or

network backup files, and (iii) information that has been “deleted” or “erased” but

is recoverable) whether located on-site or at an offsite facility, within your

possession, custody or control. Any comment or notation appearing on any

document, and not a part of the original text, is to be considered a separate

“document.” The term “document” also includes electronically stored information

(“ESI”).




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      10.    The term “ESI” means electronically stored information or data that is

generated, received, processed, and recorded by computers and other electronic

devices, and includes, without limitation, system metadata (e.g., author, recipient,

file creation date, file modification date) and user-generated metadata (e.g.,

spreadsheet formulas). ESI further includes, without limitation, the following:

(i) output resulting from the use of any software program, such as word processing

documents, spreadsheets, database files, charts, graphs, and outlines, (ii) electronic

mail and text messages, (iii) message logs from Google Chat, WhatsApp, Slack,

AOL Instant Messenger, Instant Bloomberg, Facebook, Twitter, and similar

programs, (iv) audio and video files, (v) internal (intranet) or external websites and

(vi) activity listings of electronic mail receipts and/or transmittals. ESI includes

electronic information or data wherever it resides, including, without limitation,

(i) in an active file on a computer network or individual computer hard drive, (ii) in

a deleted file or file fragment, (iii) on backup/storage media, (iv) on removable

media, such as a floppy disk, memory stick, portable hard drive, or zip drive and

(v) on a smart phone or personal digital assistant. ESI also includes documents,

containers, and labels appended to or concerning any physical storage device

associated with responsive electronic information or data.

      11.    The verb “concern” and its variants encompass the terms “refer,”

“reflect,” and “relate,” and shall be construed to bring within the scope of the request



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all documents that comprise, evidence, constitute, describe, explicitly or implicitly

refer to, were reviewed in conjunction with, or were generated as a result of, the

subject matter of the request, including but not limited to all documents that reflect,

record, memorialize, discuss, evaluate, consider, review, report, support,

demonstrate, show, study, describe, analyze, embody, mention, contradict, or result

from the matter specified, or otherwise evidence, the existence of the subject matter

of the request.

        12.   To the extent necessary to bring within the scope of the Interrogatories

below any information or document that might otherwise be construed to be outside

said scope, the word “any” means “any and all,” and the word “all” means “any and

all.”

        13.   Pronouns shall be construed to refer to the masculine, feminine or

neuter gender, in singular or plural, as in each case is most appropriate.

        14.   “Including” means “including but not limited to.”

                                 INSTRUCTIONS

        1.    These Interrogatories are to be considered continuing in nature, and,

therefore, answers should be modified or supplemented as you obtain further or

different information.

        2.    Your answer to each Interrogatory shall include all information known

to you or otherwise available to you, including information within the knowledge or



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possession of any subsidiaries, parents or corporate affiliates of you, as well as

information within the knowledge or possession of your attorneys, advisors,

employees and accountants, as well as any other agent of any sort and whether

present or past.

      3.     If the answer to any Interrogatory is fully and fairly contained in a

document, from which the answer can without unreasonable difficulty be extracted,

you may answer the interrogatory by attaching a copy of such document.

      4.     If any form of privilege or other protection from disclosure is claimed

as a ground for withholding requested documents or information to be produced or

identified, set forth with respect to the document or information the date, title,

identity of the author (if applicable), subject matter and each and every fact or basis

on which you claim your privilege, with sufficient specificity to permit the Court to

make a determination as to whether the claim of privilege is valid.

      5.     If any Interrogatory is objected to on grounds of overbreadth, you are

instructed to respond to the Interrogatory as narrowed to conform to your objection

within the period allowed for a response.

      6.     Where a complete answer to a particular Interrogatory is not possible,

answer the Interrogatory to the extent possible and state why only a partial answer

is given. If, in answering these Interrogatories, you claim that the Interrogatory or

an applicable instruction is ambiguous, set forth as part of the response the language



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you claim is ambiguous and the interpretation you used to respond to the

Interrogatory.

      7.       Unless otherwise stated, the relevant time period for these

Interrogatories is from January 24, 2018 to the present.

                               INTERROGATORIES

      1.       Identify the name, address, and state of incorporation or organization

of any corporate or other business entity you owned or operated during the relevant

time period.

      ANSWER:



      2.       Identify the shareholders, directors, officers, partners, members,

managers, or other owners or operators of any entity identified in response to

Interrogatory No. 1 above.

      ANSWER:



      3.       Identify and describe your revenue during the relevant time period,

including but not limited to all sources of income, revenue, or remuneration of any

kind, including payments for goods and services, interest income, operating income,

payments on accounts receivables, commissions, agency fees, loan repayments,

rents, royalties, license fees, dividends, distributions, payments relating to sales of



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assets, equipment, or inventory, payments on contracts, or any other payment or

remuneration you received in connection with the operation of your business.

      ANSWER:



      4.      Identify and describe your routine expenses, including but not limited

to: operating costs; rental obligations; payroll and benefits; outstanding loans;

installment payments; mortgage payments; loan payments and financing charges on

vehicles, boats, aircraft, equipment, and supplies; payments due under contracts;

royalty payments and license fees; commissions owed to brokers, dealers, or

representatives; legal, accounting, and other professional fees; advertising and

marketing costs; and other routine debts and expenses that occur on a regular basis.

      ANSWER:



      5.      Identify and describe all debts and liabilities you owed or incurred

during the relevant time period, including:

           a. The name, address, and telephone number of the creditor.

           b. The amount owed.

           c. When the debt was incurred and for what reason.

           d. Whether all or any portion of the debt is paid.

           e. When all or any portion was paid.



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           f. Whether the debt is secured and, if so, how it is secured.

           g. Any remaining balance on all such debts.

      ANSWER:



      6.      Identify all legal actions in which you have been or are a party during

the relevant time period, including: (a) the title of the case; (b) the name of the

court/forum where the action is or was pending; (c) the case number; (d) a

description of the case; and (e) the outcome of the case, if applicable (for example,

a judgment for money damages against you or the other party).

      ANSWER:



      7.      Identify all individuals, institutions, and other entities that owe you

debts or liabilities, including: (a) the name, address, and telephone number of the

debtor; (b) the amount of the debt or liability as of February 22, 2024; (c) whether

the debt is secured, and if so, how; (d) the maturity date of the debt; (e) whether any

debt has become uncollectable.

      ANSWER:



      8.      Identify and describe all real property you currently own, hold, or claim

any type of interest in, directly or indirectly, in whole or in part, or owned, held, or



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claimed any interest in, directly or indirectly, in whole or in part, during the relevant

time period, including: (a) the property’s address; (b) the purchase price; (c) the

current fair market value; (d) the type of real property; (e) how the property is

currently titled; (f) how the property was titled when first purchased; (g) your interest

in the property; (h) the identity of any third parties who possess or claim to possess

an ownership interest in the property; and (i) any debts, liabilities, liens, or other

encumbrances against the property.

      ANSWER:



      9.      Identify all banks, brokerage firms, investment firms, or other financial

institutions for any account which you currently own, hold, or claim an interest in,

in whole or in part, or owned, held, or claimed an interest in, in whole or in part,

during the relevant time period, including:

           a. The bank, investment firm, or other financial institution name, address,
              and telephone number.

           b. The name under which the account is titled.

           c. The account number.

           d. The account type.

           e. The account balance from January 24, 2018 to present.

           f. The identity of any third parties who possess or claim to possess an
              ownership interest in the property.



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            g. Any debts, liabilities, liens, or other encumbrances against the
               accounts.

      ANSWER:


      10.      Identify and describe all vehicles, aircraft, boats, or other water vessels

you currently own, hold, or claim an interest in, directly or indirectly, in whole or in

part, or owned, held, or claimed an interest in, directly or indirectly, in whole or in

part, during the relevant time period, including:

            a. The property’s current location.

            b. The property’s purchase price.

            c. The current fair market value.

            d. The type of property.

            e. How you acquired an ownership interest or claim in the property.

            f. Your current ownership interest or claim in the property.

            g. The identity of any third parties who possess or claim to possess an

               ownership interest in the property.

            h. Any debts, liabilities, liens, or other encumbrances against the property.

      ANSWER:



      11.      Identify and describe any and all other tangible corporate property with

a value over $5,000 which you currently own, hold, or claim an interest in, directly



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or indirectly, in whole or in part, or owned, held, or claimed an interest in, directly

or indirectly, in whole or in part, during the relevant time period, including:

            a. The type of property, including, but not limited to: goods; equipment
               and machinery; inventory; trade fixtures; tools; office equipment and
               furniture; computer equipment and networks; furnishings, appliances,
               electronics, computer equipment, televisions, stereos, audiovisual
               equipment, and fixtures; jewelry, artwork, antiques, and collectibles;
               clothing; cash; and precious metals.

            b. The property’s current location.

            c. The property’s purchase price.

            d. The current fair market value.

            e. How you acquired an ownership interest or claim in the property.

            f. Your current ownership interest or claim in the property.

            g. The identity of any third parties who possess or claim to possess an
               ownership interest in the property.

            h. Any debts, liabilities, liens, or other encumbrances against the property.

      ANSWER:



      12.      Identify and describe all of your affiliates, subsidiaries, parent

companies, or any other company that has or claims an interest in Lindell

Management LLC, including the name, address or location, and state or country of

incorporation organization of any such entity, and the nature of your affiliation or

corporate or other organizational relationship with any such entity.



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      ANSWER:



      13.      Identify all corporations, subsidiaries, limited liability companies,

trusts, partnerships, or other business entity of any kind or nature in which you

currently own, hold, or claim an interest in, in whole or in part, or owned, held, or

claimed an interest in, in whole or in part, during the relevant time period, and

describe that relationship.

      ANSWER:



      14.      Identify and describe all intangible property with a value over $5,000

you currently own, hold, or claim any type of interest in, directly or indirectly, in

whole or in part, or owned, held, or claimed any type of interest in, directly or

indirectly, in whole or in part, during the relevant time period, including:

            a. The type of intangible property, including but not limited to any and
               all: contracts; security agreements; stocks, bonds, or other evidence of
               ownership, equity, or investment in any business entity, including
               number of units owned; patents, copyrights, trademarks, or other
               evidence of intellectual property rights; accounts receivable; notes
               receivable; corporate goodwill; research and development; retirement,
               pension, 401(k), and IRA accounts; annuities; and crypto currency.

            b. A description of the property.

            c. The property’s purchase price (if applicable).

            d. The current fair market value.



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            e. How you acquired an ownership interest or claim in the property.

            f. Your current ownership interest or claim in the property.

            g. The identity of any third parties who possess or claim to possess an

               ownership interest in the property.

            h. Any debts, liabilities, liens, or other encumbrances against the property.

      ANSWER:



      15.      Identify all policies of insurance you currently own, hold, or claim any

type of interest in, directly or indirectly, in whole or in part, or were covered under

during the relevant time period, including:

            a. The name, address, and telephone number of the insurance company.

            b. The policy number.

            c. The policy amount.

            d. The type of policy.

            e. The present cash or surrender value.

            f. The amount of accumulated dividends, if any.

            g. The time period covered under the policy.

      ANSWER:




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      16.      Identify all revenue, income, or assets you claim exempt from judgment

enforcement in this action and state the basis for the exemption.

      ANSWER:



      17.      As to each asset identified by you in response to these interrogatories,

identify any third party that currently possesses, owns, or controls that asset, in

whole or in part, such as:

            a. Corporate affiliates, subsidiaries, parent companies, partners, or any
               other related corporate entity.

            b. Banks, financial institutions, and brokerage firms.

            c. Accountants.

            d. Business partners.

            e. Associates with whom you conducted business during the relevant time
               period.

            f. Other individuals, institutions, and entities that hold your assets.

      ANSWER:



      18.      Identify the asset or assets possessed, owned, or controlled, in whole or

in part, by the third parties referenced in Interrogatory No. 17 above.

      ANSWER:




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      19.      Identify all transferees of any of your income or assets over the value

of $5,000, in whole or in part, during the relevant time period, or that are transferees

of an ownership interest in any of your income or assets over the value of $5,000, in

whole or in part, during the relevant time period, including:

            a. Banks, financial institutions, brokerage firms, and investment firms.

            b. Accountants.

            c. Business partners.

            d. Associates.

            e. Other individuals, institutions, and entities.

      ANSWER:



      20.      Identify the income or assets transferred to any third party, referenced

in Interrogatory No. 19 above.

      ANSWER:



Dated: February 22, 2024

                                          BAILEY & GLASSER LLP

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